              Entered on Docket February 9, 2018

                                                                 Below is the Order of the Court.


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                                                                  Christopher M. Alston
 3                                                                U.S. Bankruptcy Judge
                                                                  (Dated as of Entered on Docket date above)
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                                                                Judge Christopher M. Alston
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                                                                       Chapter 7
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14                             UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     In Re:
16
                                                  No. 17-15395-CMA
17        WEBB, THOMAS
         COURTNEY                                 EX PARTE ORDER AUTHORIZING EMPLOYMENT
18                                                OF RICH KIM AND LUMIN BROKERS AS REAL
                                                  ESTATE AGENTS FOR THE TRUSTEE
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                Debtor(s).
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                THIS MATTER, having come on for hearing ex parte before Judge Christopher M. Alston and it
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     appearing that no notice of hearing is required to be given and that no adverse interest or conflict of
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     interest exists and that the employment of Rich Kim and Lumin Brokers as real estate agents to sell real
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     property of the estate is in the best interest of the estate and this case is one justifying employment of Rich

25   Kim and Lumin Brokers, it is hereby

26              ORDERED that the Trustee be and hereby is authorized to employ Rich Kim and Lumin Brokers
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     pursuant to 11 U.S.C. §327 & §330, as real estate agents for the Trustee in the matter described above and
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     under the terms and conditions more fully set forth in the Trustee’s ex parte application as of the date this
29
     ORDER AUTHORIZING EMPLOYMENT OF REAL ESTATE AGENT                                 Wood & Jones, P.S.
                                                                                                303 N. 67th Street
                                                                                         Seattle WA 98103-5209
     Page 1                                                                                       (206) 623-4382


       Case 17-15395-CMA            Doc 15      Filed 02/09/18        Ent. 02/09/18 15:39:08              Pg. 1 of 2
                                                                Below is the Order of the Court.

     application and order are submitted to the office of the United States Trustee, with all compensation and
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     the negotiation fee subject to court approval after notice and a hearing.
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 3                                                  ///   End of Order ///

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 5   Presented by:

 6   WOOD & JONES, P.S.

 7      /s/ Edmund Wood
     Edmund J. Wood, WSBA #03695
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     Trustee
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     Kim - Ord to Hire
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     Page 2                                                                                  (206) 623-4382


       Case 17-15395-CMA            Doc 15      Filed 02/09/18       Ent. 02/09/18 15:39:08          Pg. 2 of 2
